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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

EVOLVED WIRELESS, LLC,
Plaintiff,
v.
APPLE INC.,

Defendant.

)
) C.A.No. 15-542-JFB-SRF

)
) JURY TRIAL DEMANDED

)
) PUBLIC VERSION

)
)
)

APPLE INC.’S MOTION FOR JUDGMENT AS A MATTER OF LAW
AS TO DAMAGES ISSUES PURSUANT TO FED. R. CIV. P. 50(A)

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I. INTRODUCTION

Pursuant to Fed. R. Civ. P. 50(a), Apple Inc. moves for judgment as a matter of law
(“JMOL”) as to Evolved’s damages claim.

Il. NATURE AND STAGE OF THE PROCEEDINGS

In May 2015, Evolved filed a patent infringement lawsuit accusing various Apple iPhone
and iPad products that are compatible with LTE networks of infringing five patents owned by
Evolved. Evolved later dismissed its infringement claims related to three of the asserted patents.
Prior to trial, Evolved narrowed its asserted claims to claims 24 and 25 of the ’373 patent and
claim 7 of the ’236 patent. Currently, the Court is presiding over the trial of Evolved’s
infringement claims.

Wt. LEGAL STANDARD FOR JMOL

Fed. R. Civ. P. 50(a) provides for the grant of JMOL at the close of a plaintiffs case if a
“reasonable jury would not have a legally sufficient evidentiary basis to find” for the plaintiff. In
the Third Circuit, when determining whether to grant a JMOL motion “[t]he question is not
whether there is literally no evidence supporting the party against whom the motion is directed
but whether there is evidence upon which the jury could properly find a verdict for that party.”
Lightning Lube, Inc. v. Witco Corp., 4 F.3d 1153, 1166 (3d Cir. 1993) (citations and internal
quotation marks omitted). “Although judgment as a matter of law should be granted sparingly,”
it is mandated “where the record is critically deficient of the minimum quantum of evidence”
necessary to support a jury verdict. Eshelman v. Agere Sys., Inc., 554 F.3d 426, 433 (3d Cir.

2009) (internal quotation marks omitted).
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IV. EVOLVED FAILED TO PROVIDE LEGALLY SUFFICIENT EVIDENCE OF
DAMAGES

The Court should reject Evolved’s damages claim on any one of the following grounds.
First, Evolved failed to apply well-established Federal Circuit apportionment principles,
including by rejecting the smallest salable unit as the starting point for its royalty base. Second,
Evolved failed to apportion the alleged value of the claimed inventions from the value of
unpatented features or the LTE standard. Instead, Evolved mislabeled its top-down approach as
apportionment, even though its calculations started with the price of an entire handset device and
were subsequently based on a supposed “LTE premium.” Third, Evolved’s expert, Dr. Putnam,
offered an erroneous damages analysis that—in addition to the flaws identified above—
inappropriately relied on a supposed 50/50 split of that “LTE premium” between the two
hypothetical negotiation parties without any consideration of their bargaining positions. Fourth,
Dr. Putnam also inappropriately attempted to value the claimed inventions based on patent
citation analysis that does not actually consider the claims. Fifth, Dr. Putnam’s hypothetical

negotiation analysis is also insufficient as a matter of law. Dr. Putnam outright rejects evidence

that is highly relevant to a hypothetical negotiation, including: (a) aaa
eG; (b) Apple’s actual licensing framework; (c) other comparable licenses Apple has
entered into for declared cellular assets; (d) the price for which LG sold the patents-in-suit; and
(e) non-infringing alternatives. Sixth, Evolved offered nothing more than conclusory testimony
purportedly quantifying the benefits of the claimed inventions.

For each of these reasons, Evolved did not present legally sufficient evidence to support

its overstated damages claim.
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A. Evolved Failed To Start Its Apportionment Analysis With The Smallest
Salable Unit.

Evolved improperly used the value of the entire iPhone and cellular iPad as the starting
point for its “top-down” analysis and rejected the Qualcomm baseband processor chipset
(“baseband chip”) as the smallest salable unit (“SSU”). This violates Federal Circuit precedent
that “where multicomponent products are accused of infringement, the royalty base should not be
larger than the smallest salable unit embodying the patented invention.” Power Integrations, Inc. -
v. Fairchild Semiconductor Int’l, Inc., 894 F.3d 1258, 1270 (Fed. Cir. 2018); LaserDynamics,
Inc. v. Quanta Computer, Inc., 694 F.3d 51, 67-68 (Fed. Cir. 2012) (“We reaffirm that in any
case involving multi-component products, patentees may not calculate damages based on sales of
the entire product, as opposed to the smallest salable patent-practicing unit, without showing that
the demand for the entire product is attributable to the patented feature.”).

Here, the jury heard substantial evidence that the baseband chipset in the accused
products is the SSU based on Evolved’s infringement claims in this case, and that the royalty
base should therefore be limited to the $5 profit of that chipset. Apple’s senior engineer, Dr.
Almalfouh, and Apple’s technical expert, Dr. Bims, explained that all of the functionality
accused in this case takes place in the baseband chipset. (Trial Tr. 1027:11-17, 1130:22-1131:2,
1131:13-17.) In addition, Apple’s Principal Counsel - IP transactions, Ms. Heather Mewes,
confirmed that Apple uses the baseband chipset as the SSU “every time” it negotiates licenses in
the cellular space. (Trial Tr. 1434:8-13; see also 1430:25-1436:19.) In addition, Evolved’s
expert, Dr. Putnam, acknowledged that the baseband chipset is capable of being sold in the
marketplace and is in fact sold to Apple by Qualcomm. (Trial Tr. 926:25-927:8.) He also

acknowledged that Apple’s profit on the baseband chipset is approximately $5 and that Apple’s
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cellular licensing framework starts with the baseband chipset as the SSU. (Trial Tr. 927:23-
928:3; 928:10-15.) The baseband processor is therefore the SSU as a matter of law.

Despite this overwhelming evidence, Dr. Putnam rejected the baseband chipset as the
SSU, and started his flawed “top-down” analysis with the average $550 price of entire handset
devices. (Trial Tr. 930:12-931:11; 926:15-22; 828:9-13; 892:19-22.) The resulting royalty base
was $84.40, nearly 17 times the profit of the SSU. (/d.; see also Trial Tr. 928:10-929:4,
1445:13-21.) By contrast, Apple’s damages expert, Ms. Shirley Webster, applied established
economic principles and legal precedent in conducting her reasonable royalty analysis and
started with the smallest salable patent practicing unit, the baseband chip. (Trial Tr. 1561:24-
1562:14, 1564:7-20.)

Dr. Putnam’s top-down analysis was not only factually unsupported, it was also contrary
to the Federal Circuit’s requirement that “where multicomponent products are accused of
infringement, the royalty base should not be larger than the smallest salable unit embodying the
patented invention.” Power Integrations, 894 F.3d at 1270; LaserDynamics, 694 F.3d at 67.
Moreover, Dr. Putnam’s erroneous calculation “skew[ed] the damages horizon for the jury,
regardless of the contribution of the patented component to this revenue.” Uniloc USA, Inc. v.
Microsoft Corp., 632 F.3d 1292, 1320 (Fed. Cir. 2011). This resulted in making Evolved’s
“proffered damages amount appear modest by comparison, and to artificially inflate the jury’s
damages calculation beyond that which is adequate to compensate for infringement.”
LaserDynamics, 694 F.3d at 67. (See 928:10-929:4, 1445:13-21.)

Dr. Putnam failed to apply longstanding Federal Circuit law requiring apportionment
based on the SSU, and, at least on this basis, the jury should not be allowed to consider such

testimony. See Power Integrations, Inc., 894 F.3d at 1270.
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B. Evolved Failed To Properly Apportion The Value Of The Patented
Technology.

In Ericsson, the Federal Circuit identified two special apportionment issues that arise in
the context of declared cellular assets. Ericsson, Inc. v. D-Link Sys., Inc., 773 F.3d 1201, 1232
(Fed. Cir. 2014). Despite contending that the patents-in-suit are essential—which Apple
denies—Evolved’s damages analysis ignores in its entirety the Ericsson framework and instead
uses apportionment principles divorced from the value of the patented technology. But the law is
clear:

1. The patented feature must be apportioned from all of the unpatented features reflected

in the standard.
2. The patentee’s royalty must be premised on the value of the patented feature, not any
value added by the standard’s adoption of the patented technology.

Id. The Federal Circuit explained that these two additional apportionment steps are “necessary
to ensure that the royalty award is based on the incremental value that the patented invention
adds to the product, not any value added by the standardization of that technology.” Jd.
(emphasis in original). The Federal Circuit also held that “the royalty for SEPs should reflect the
approximate value of that technological contribution, not the value of its widespread adoption
due to standardization.” Jd. Accordingly, “damages awards for SEPs must be premised on
methodologies that attempt to capture the asserted patent’s value resulting not from the value
added by the standard’s widespread adoption, but only from the technology’s superiority.” Jd.
“Without this rule, patentees would receive all of the benefit created by standardization—benefit
that would otherwise flow to consumers and businesses practicing the standard.” CSIRO, 809

F.3d at 1305.
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Here, Dr. Putnam violated these apportionment rules by ignoring these fundamental
principles of apportionment, instead basing his calculations on a supposed “LTE premium” over
3G devices. (Trial Tr. 838:2-8, 839:15-23, 842:1-3.) By contrast, Ms. Webster carefully
considered guidance from the courts and applied the Ericsson apportionment principles in her
analysis. (E.g., Trial Tr. 1558:4-19.)

Dr. Putnam analyzed a group of patent families that had been declared to the LTE
Standard (even though they may not actually be essential or ever become essential) and then
reduced that amount by about 53.4% to account for over-declaration to standards. (Trial Tr.
853:10-14.) In that group, he then ranked patents based on the number of times they had been
cited by other patents and assigned them a value, which equates to his royalty “rate.” (Trial Tr.
863:21-25, 868:10-18.) Dr. Putnam then applied his rate to his base to come up with his opinion
that a “reasonable royalty” is 26.1 cents per device for the ’373 patent and 1.45 cents per device
for the ’236 patent. (Trial Tr. 868:19-869:18.) Although Dr. Putnam’s analysis claims to
“apportion,” it is not the type of fact-specific apportioning that the Ericsson framework requires.
For example, as discussed above, Dr. Putnam’s citation analysis does not actually provide any
reliable information about the value of the claimed invention. Similarly, nothing in Dr. Putnam’s
analysis separates the value of the patented technologies from the inherent value the ’373 and
°236 patents obtain from their status as declared cellular assets as required under Ericsson.
Moreover, courts have held that experts must carefully tie proof of damages to the claimed
invention’s footprint in the market place. Uniloc, 632 F.3d at 1317. Accordingly, his opinions

cannot support Evolved’s damages claim as a matter of law.
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Cc, Dr. Putnam’s “Forward Citation” Analysis Is Untethered To The Value Of
The Claimed Inventions.

Dr. Putnam attempted to apportion the value of the inventions claimed in the ’373 and
°236 patents by performing a “forward citation analysis.” He asserted that “the value of a patent
is correlated with the number of forward citations that it receives,” but provided no evidence to
support his assertion. (Trial Tr. 857:19-20.) Courts have recognized that this type of citation
analysis does not identify the value of the invention because the invention is set forth in the
claims of a patent, but “[p]atents are not cited for their claim language.” Oracle Am., Inc. v.
Google Inc., 2012 WL 877125, *2 (N.D. Cal. 2012); Finjan, Inc. v. Blue Coat Sys., Inc., 2015
WL 4272870, *7-*8 (N.D. Cal. 2015) (striking damages expert’s opinions based on forward
citation analysis because they were not tied to the facts of the case). “[I]nstead, patents are cited
if they disclose important ideas material to a later application’s patentability. That is why the
citations are to the entire patent, which is largely composed of specifications and drawings, not
claims.” Oracle Am., 2012 WL 877125, *2 (striking portion of accused infringer’s damages
expert’s report that, in attempting to apportion the value between a license for a whole portfolio
and the asserted patents within that portfolio, sought to use a “forward citation” analysis).

All Dr. Putnam’s citation analysis proves, if anything, is that the °373 patent specification
has been cited more frequently than other patents. That has no bearing on the value of the
patented technology set forth in the claims of the ?373 patent, which is what a proper
apportionment analysis is supposed to do. There is no testimony that the asserted claims are as
broad as the specification. Indeed, Ms. Mewes testified that the patent citation analysis is never
used in real world license negotiations because it is “highly manipulative” and “not a measure of
the claim value.” (Trial Tr. 1444:2-20.) Ms. Webster also explained that there are a number of

problems with Dr. Putnam’s citation analysis which render an unreliable indicator of an
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invention’s value. (Trial Tr. 1625:2-1626:19.) Dr. Putnam’s general apportionment is
untethered to the specific patented technology, is fundamentally flawed, and cannot support a
legally proper damages award.

D. Evolved’s Use Of The Nash Bargaining Solution Is An bmproper “Rule of
Thumb” That The Federal Circuit Has Rejected.

The Federal Circuit has consistently rejected “rules of thumb” for calculating a baseline
royalty rate, including the Nash Bargaining solution employed by Dr. Putnam in his damages
analysis. VirnetX, Inc. v. Cisco Sys., Inc., 767 F.3d 1308, 1331-34 (Fed. Cir. 2014) (expert’s use
of the Nash Bargaining solution was improper where the expert failed to provide any economic
justification for why the analysis would begin with a 50/50 split of the incremental profits); see
also Uniloc, 632 F.3d at 1315 (finding the 25% rule of thumb for a baseline royalty rate
“fundamentally flawed” and inadmissible). In the patent context, the Nash theorem provides that
where two parties are bargaining, under a certain set of premises, the Nash Bargaining Solution
is a 50/50 split of the incremental profits earned by the infringer from the use of the asserted
patents. VirnetX, 767 F.3d at 1325, 1333-34. The Federal Circuit has instructed that “[a]nyone
seeking to invoke the theorem as applicable to a particular situation must establish [a real world
fit to that set of premises], because the 50/50 profit-split result is proven by the theorem only on
those premises.” Jd. at 1332.

Dr. Putnam employed the Nash “rule of thumb” to conclude that patent owners are
entitled to 50% of what he termed the “LTE premium.” (Trial Tr. 843:1-13, 845:4-10.) His
analysis is flawed because he failed to demonstrate that such a 50/50 split would occur in the real
world. (Trial Tr. 1624:4-21.) Dr. Putnam acknowledged that the Nash theorem has nothing to
do with determining patent damages and is not used during any real-world licensing negotiations.

(Trial Tr. 933:1-935:16.) For example, Dr. Putnam admitted that his entire premise of using an
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economic theorem is divorced from how parties actually negotiate license agreements because,
in his words, “people don’t grab theories off the shelf and just say, Let me apply it to my
negotiations with LG.” (Trial Tr. 935:1-8.) The only evidence Dr. Putnam cited to support his
use of the Nash “rule of thumb” was ETSI’s IPR policy, which states generally that the
commitment to license standard essential patents on FRAND terms is intended to “balance” the
interests of innovators and implementers. (Trial Tr. 843:1-6.) But Dr. Putnam’s assumption that
“balancing” the interests requires a 50/50 split is based on nothing more than speculation and
misses the point of ETSI’s IPR policy, which is intended to allow for standardization without
unfairly prejudicing the implementers who must use standard-essential technology or giving a
windfall to innovators who hold patents on standard-essential technology. Nothing about this
policy is premised on a 50/50 split of profits between the innovators and implementers.
Moreover, this IPR is hardly a “real world fit” that the Federal Circuit requires.

Other courts in this District have rejected damages calculations premised on the Nash
“rule of thumb” where it was not shown that the parties to the hypothetical negotiation would
have agreed to a 50/50 split. For example, the court in Bayer HealthCare LLC v. Baxalta Inc.,
recently excluded the patentee’s damages expert’s opinion that considered a range of royalties
and then applied a 50/50 split of an incremental profit range as part of Nash bargaining solution,
and then modified that split to 45/55 to account for the patentee having a weaker bargaining
position. 2019 WL 330149, *6-*8 (D. Del. 2019). Similarly, the court in Robocast, Inc. v.
Microsoft Corp. excluded a damages analysis that relied on the Nash bargaining solution because
the expert failed to provide facts regarding the parties’ respective bargaining power and therefore
failed to justify his use of a 50/50 split of the anticipated benefit of the expected transaction.

2014 WL 350062, *1-*3 (D. Del. 2014).
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Accordingly, Dr. Putnam’s analysis employing the Nash theorem is legally improper and
should not be considered by the jury.
E. Evolved Failed To Prove Its Damages Represent A Reasonable Royalty

Because It Failed To Consider Material Negotiations Regarding the Asserted
Patents And Comparable License Agreements.

The jury has been instructed to consider a hypothetical negotiation in determining the
amount of a reasonable royalty in this case. (Instruction No. 29.) They have been told to “focus
on what the expectations of the patent holder and the alleged infringer would have been had they
entered into an agreement. . . and had they acted reasonably in their negotiations.” (/d.) Under
the Court’s instruction, evidence of actual licensing practices, negotiations, and executed
agreements involving one or both of the parties to the hypothetical negotiation are highly
relevant and should not be ignored. Dr. Putnam’s reasonably royalty analysis is deeply flawed

because he did precisely that. He ignored or expressly rejected evidence regarding:

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2. Apple’s licensing framework for declared cellular assets, like the patents-in-suit;

3. Comparable licenses Apple has entered into for declared cellular assets; and

4, LG’s sale of the patents-in-suit to TQ Lambda at around the same time the
hypothetical negotiation would have occurred;

5. The existence of non-infringing alternatives which would have made it relatively easy
and inexpensive for Apple to have designed around the patents-in-suit.

Not only did Dr. Putnam disregard this highly relevant evidence, he also relied on the

unsupported opinions of Dr. Cooklev regarding the claimed benefits of the patented technology.

(Trial Tr. 875:23-876:19.) Furthermore, Dr. Putnam candidly admitted that no party in actual

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license negotiations would use the “top-down” methodology that he used to calculate the
reasonably royalty in this case. (Trial Tr. 917:16-20, 918:1-3.) Because Dr. Putnam failed to use
critical real world evidence in forming his damages opinion, and instead focused on abstract
economic principles admittedly not used in reality, his opinion is not based on “sound economic
and factual predicates.” Riles v. Shell Exploration & Prod. Co., 298 F.3d 1302, 1311 (Fed. Cir.
2002) (citing Crystal Semiconductor Corp. v. TriTech Microelectronics Int'l, Inc., 246 F.3d 1336
(Fed. Cir. 2001); Shockley v. Arcan, Inc., 248 F.3d 1349 (Fed. Cir. 2001)). Accordingly, Dr.
Putnam’s hypothetical negotiation analysis is insufficient as a matter of law to support Evolved’s

$31 million damages claim.

1. Evolved failed to consider evidence of the ay

The Federal Circuit has found that where there is evidence of an actual licensing

 

negotiations between the parties to the hypothetical negotiation, that is close in time to the
hypothetical negotiation, it is legal error to reject this evidence in a damages analysis. CS/RO,
809 F.3d at 1301. Here, Dr. Putnam testified that the hypothetical negotiation would have
occurred sometime between December 2008 and September 2012, and that the negotiation would
have been between Apple and LG Electronics. (Trial Tr. 873:14-21, 912:3-15; see also id.
156:6-24 (Ms. Webster agreeing with Dr. Putnam on these points).) The undisputed evidence of

record establishes that around the time of the hypothetical negotiation, zaman

 
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EE Even though Dr. Putnam admitted that the

jury should take into account the expectations of Apple and LG in a hypothetical negotiation
(Trial Tr. 914:13-22), he rejected entirely i. (Trial Tr. 913:5-
14, 914:2-8.)

2. Evolved failed to consider Apple’s Cellular Licensing Framework.

Dr. Putnam’s hypothetical negotiation analysis is also flawed because he rejected
evidence of Apple’s cellular licensing framework, which Apple would have used at the
hypothetical negotiation. Apple’s Principal Counsel — IP Transactions, Ms. Heather Mewes,
testified that Apple’s cellular licensing framework is what Apple actually uses in negotiating
licenses to declared cellular assets. (Trial Tr. 1430:3-1432:10.) She further testified that Apple’s
cellular licensing framework is not an anomaly; other companies like Intel and Cisco use similar
frameworks. (Trial Tr. 1432:11-15.) Ms. Webster used Apple’s licensing framework in her
reasonable royalty analysis because she understood that the actual licensing practices of the
parties to the hypothetical negotiation is an important consideration. (Trial Tr. 1601:10-1603:8.)
Dr. Putnam’s rejection of this evidence was erroneous because the Federal Circuit has long
recognized that a party’s “usual licensing approach should be considered in assessing a
reasonable royalty.” Studiengesellschaft Kohle, m.b.H. v. Dart Indus., Inc., 862 F.2d 1564, 1568
(Fed. Cir. 1988).

3, Evolved failed to consider comparable Apple licenses.

On direct examination, Evolved’s attorney asked Dr. Putnam: “Did you find Apple’s
licenses relevant to determining a rate in this case?” His unequivocal response was: “No.”
(Trial Tr. 879:23-25.) Dr. Putnam’s purported reasoning was that the comparable Apple licenses
are not actually comparable because: (1) Apple paid the royalty in a lump sum, whereas he had

calculated a running royalty rate; (2) some of the licenses were cross-licenses; (3) some of the

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licenses granted rights to large portfolios of patents; (4) most of the licenses were for the life of
the licensed patents; and (5) one license agreement did not contain detailed information about the
quality of the licensed patents. (Trial Tr. 880:2-881:18.) None of the reasons, however, that Dr.
Putnam gave make a license per se non-comparable, such that an expert can outright disregard
them in a proper damages analysis.

In addition, Dr. Putnam rejected comparable Apple licenses because the licensed patents
had not been found valid and infringed. (Trial Tr. 923:3-6; 956:9-10.) He did so based on his
representation that “the hypothetical negotiation is a bargain over patents that have been found
valid and infringed.” (Trial Tr. 919:6-7.) Dr. Putnam’s view is untenable. It is well settled that
the hypothetical negotiation takes place at a time prior to when infringement first began, but the
negotiating parties assume that “the asserted claims are valid and infringed.” Lucent Techs., Inc.
y. Gateway, Inc., 580 F.3d 1301, 1325 (Fed. Cir. 2009). The law does not require that the parties
to the hypothetical negotiation assume that there has been a finding or other final determination
as to validity and infringement. That is a very different assumption and would skew the
bargaining power in favor of the hypothetical licensor. Cf Metris U.S.A., Inc. v. Faro
Technologies Inc., 2012 WL 12012748, *1 (D. Mass. 2012) (granting motion in limine to
preclude damages expert from opining that doubts about the validity of the patent would have
pushed the royalty rate downwards). Rather, all the law requires is that the hypothetical
negotiators assume “the asserted claims are valid and infringed” such that a license is required.
Lucent, 580 F.3d at 1325. This is no different than any other real world Apple license, where
Apple took a license because it believed it needed a license. Thus, Dr. Putnam’s incorrect
understanding of the law governing the hypothetical negotiation caused him to reject highly

relevant evidence and infected the opinions he gave to the jury.

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Ms. Webster, on the other hand, provided the jury with her detailed analysis of

comparable Apple license agreements and how they provide important data points in calculating

a reasonable royalty based upon a hypothetical negotiation.

Dr. Putnam’s rejection of the Apple licenses is contrary to Federal Circuit case law,
which has repeatedly held that “sufficiently comparable licenses is a generally reliable method of
estimating the value of a patent” because such licenses “inherently account[] for market
conditions at the time of the hypothetical negotiation, including a number of factors that are
difficult to value, such as the cost of available, non-infringing alternatives.” Apple Inc. v.
Motorola, Inc., 757 F.3d 1286, 1325 (Fed. Cir. 2014), overruled on other grounds by Williamson
v. Citrix Online, LLC, 792 F.3d 1339 (Fed. Cir. 2015). See, e.g., ActiveVideo Networks, Inc. v.
Verizon Commc'ns, Inc., 694 F.3d 1312, 1333 (Fed. Cir. 2012); Lucent Techs., Inc. v. Gateway,
Inc., 580 F.3d 1301, 1325 (Fed. Cir.2 009); Maxwell v. J. Baker, Inc., 86 F.3d 1098, 1110 (Fed.
Cir. 1996); Nickson Indus., Inc. v. Rol Mfg. Co., 847 F.2d 795, 798 (Fed. Cir. 1988).

4, Evolved failed to consider the price for which LG sold the patents-in-suit.

Evolved’s reasonable royalty calculation is also flawed because it failed to consider LG’s

own valuation of the patents-in-suit. [a

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aaa eee Ms. Webster

recognized that this sale price is a “very important” indicator of a reasonable royalty because LG
is a “sophisticated, knowledgeable patent-owning company” that knows the true value of its
patents. (Trial Tr. 1587:5-1590:23, 1591:24-1592:5, 1593:21-1595:5.) Dr. Putnam, however,
told the jury that amount LG sold the patents for was “irrelevant . . . for damages purposes.”
(Trial Tr. 923:9-10.)

5. Evolved ignored evidence of non-infringing alternatives.

The Federal Circuit has instructed that the “availability of non-infringing alternatives
present at the time infringement first began should be accounted for in a hypothetical
negotiation.” Riles v. Shell Exploration and Production Co., 298 F.3d 1302, 1312 (Fed. Cir.
2002) (vacating reasonable royalty award for damage in part because patentee failed to account
for non-infringing alternatives in the hypothetical negotiation). Dr. Bims testified that “there
were other well-known ways or non-infringing alternatives to perform handover that are different
from what’s outlined in the °373 patent.” (Trial Tr. 1129:5-8.) For example, the accused
products could have been modified using existing source code so that they never receive a
preamble index from the source base station, and thus would not infringe even under Evolved’s
theory of infringement. (Trial Tr. 1199:10-1200:10.) Dr. Bims further testified that “for the
°236 patent as well, there were other well-known ways to perform the random access that they
were focusing on in the 236 patent.” (Trial Tr. 1123:9-11, 1304:10-1306:10.) Despite this
evidence, Dr. Putnam completely ignored the existence of non-infringing alternatives in forming
his opinions, and as such judgement as a matter of law is appropriate. Ms. Webster, on the other
hand, provided the jury with thorough explanation regarding the significance of available and

acceptable non-infringing alternatives in the calculation of a reasonable royalty. (Trial Tr.

1596:23-1600:16.)

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6. Evolved’s conclusory opinions about the claimed benefits of the asserted
patents lack evidentiary support.

 

 

Lastly, Evolved’s reliance on the unsupported opinions of Dr. Cooklev regarding the
claimed benefits of the patented technology was erroneous. For example, Dr. Putnam cited Dr.
Cooklev’s opinion as a factor he considered in his hypothetical negotiation analysis. (Trial Tr.
875:23-876:19.) Specifically, Dr. Putnam argued that Dr. Cooklev’s opinions about the value of
the claimed inventions “confirmed” his patent citation analysis. (/d.) However, Dr. Bims
explained that Dr. Cooklev’s opinions were nothing more than his naked assertions, not based on
any actual evidence. (Trial Tr. 1307:10-13.) Dr. Bims also explained that the patented
technology represents a “very, very minor piece of the overall LTE standard.” (Trial Tr. 1308:2-
6.) In sum, Evolved consistently rejected probative evidence in favor of unsupported opinions
and specious economic principles not used in real-world negotiations, with the end result being a
damages theory that is not based on “sound economic and factual predicates.” Riles, 298 F.3d at
1311.

F. Conclusion

For the foregoing reasons, the record is devoid of legally sufficient evidence to support

Evolved’s damages opinion and judgment as a matter of law should be granted.

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